                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,

       v.                                                   Case No. 21-CR-25
                                                            [18 U.S.C. § 1365(a)(1)]
STEVEN R. BRANDENBURG,

                              Defendant.



                                           INFORMATION



                                            COUNT ONE

       THE UNITED STATES ATTORNEY CHARGES THAT:

       On or about December 24, 2020, in the State and Eastern District of Wisconsin,

                                STEVEN R. BRANDENBURG,

with reckless disregard for the risk that another person would be placed in danger of death and

bodily injury, and under circumstances manifesting extreme indifference to such risk, attempted

to tamper with certain vials of Moderna, Inc.’s COVID-19 vaccine, then located at 975 Port

Washington Road in Grafton, Wisconsin, and such vaccine was a consumer product that affected

interstate commerce.

       In violation of Title 18, United States Code, Section 1365(a)(1).




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                                          COUNT TWO

         THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:

         On or about December 25, 2020, in the State and Eastern District of Wisconsin,

                                  STEVEN R. BRANDENBURG,

with reckless disregard for the risk that another person would be placed in danger of death and

bodily injury, and under circumstances manifesting extreme indifference to such risk, attempted

to tamper with certain vials of Moderna, Inc.'s COVID-19 vaccine, then located at 975 Port

Washington Road in Grafton, Wisconsin, and such vaccine was a consumer product that affected

interstate commerce.

         In violation of Title 18, United States Code, Section 1365(a)(1).




Dated:     i 7z- (/          2(
                                                                             United States Attorney




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